Case 2:03-cv-02402-STA Document 53 Filed 07/06/05 Page 1 of 3 _._Page||_§) 74

lN THE UNITES STATES DISTRICT COURT FOR THE WESTERNF"~H’ BY .LI£L/_ D.C.
DISTRICT oF TENNESSEE, WESTERN DIVISION
05JUL -6 PH 3= |`l

 

GEORGE PHILLIPS, m M m
_ _ U(, U.S. &‘STBU wm
Plamtlff, W/D OF li'-§_. lilf:`Wi-il$
vg_ No. 03-2402-M1A
CDA INCORPORATED.
Defendant.

 

AMENDED CONSENT ORDER DIRECTlNG THE CLERK
TO PAY MONEY TO THE ATTORNEY FOR THE PLAINTIFF

 

The Court finds upon statement of the attorney for the PlaintiH` that he has been advised
by Rudy Tipton, assistant District Court Clerk, that the amount previously paid to Barry W,
Kuhn, attorney for the P]aintif`f, $15,862.95 was incorrect and that the correct amount was
$15,869.95, such that the Clerk of the Court should pay to Barry W. Kuhn the additional sum of
$7.00.
IT IS SO ORDERED ADJUDGED AND DECREED.
§ 7
S. THbMAS ANDERSON

UNITED STATES MAGISTRATE JUDGE

DATE: %u£\ R’ zoof
(/ ’ '

RRY W. KJJiIN (763 8)
5100 Stage Road, Suite 4
Memphis, TN 38134
(901) 377-0344

Th:'s document entered on the docket sheet fn compliance
with ama 58 and/or 79(.3) FHCP on "l ' ~03’

 

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CERTIFICATE OF SERVICE

 

I, Barry W. Kuhn, do certify that an exact copy of the foregoing Amended
Consent Order Directing The Clerk To Pay Money To The Attorney For The Plaintiff,
has been forwarded to chf Weintraub, at 1715 Aaron Brenner Drive, Suite 512,
Memphis, TN 38120 postage pre-paid this 29th day of June, 2005 .

%h/M

BARRY W. KUHN

 

oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:03-CV-02402 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

Cheryl McLemore Hearn

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OLSEN & KUHN
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Honorable S. Anderson
US DISTRICT COURT

